        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

MARTIN L. SAMUDIO and SAN        §             NO. 5:19-CV-1334-DAE
JUANITA SAMUDIO,                 §
                                 §
           Plaintiffs,           §
                                 §
vs.                              §
                                 §
LOANCARE, LLC, Mortgage Servicer §
for LAKEVIEW LOAN SERVICING, §
LLC,                             §
                                 §
           Defendant.            §
________________________________ §

                  ORDER GRANTING MOTION TO DISMISS
             The matter before the Court is Defendant LoanCare, LLC, Mortgage

Servicer for Lakeview Loan Servicing, LLC’s (“LoanCare” or “Defendant”)

Motion to Dismiss for Failure to State a Claim. (Dkt. # 3.) Pursuant to Local Rule

CV-7(h), the Court finds this matter suitable for disposition without a hearing.

After careful consideration of the memorandum in support of the motion, the

Court, for the reasons that follow, GRANTS LoanCare’s Motion to Dismiss.

                                 BACKGROUND

             Martin L. Samudio and San Juanita Samudio (“Plaintiffs”) are the

purported owners of certain real property located at 4234 Vantage View Drive, San

Antonio, Texas 78228 (“Property”). (Dkt. # 3 at 2.) In obtaining the Property,
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 2 of 8




Plaintiffs executed a Note in the amount of $198,831.00 and a Deed of Trust the

same day, which was recorded in the Official Public Records of Bexar County,

Texas. (Id.) The Property was noticed for foreclosure sale on June 4, 2019, but

Plaintiffs obtained a temporary restraining order in Bexar County court that

prevented the sale. (Dkt. # 1-3 at 8.)

             In their original application, Plaintiffs also sought an accounting and

request for an injunction in Bexar County court to stop the alleged wrongful sale.

(See Dkt. # 1-3.) Defendant removed the case to this Court on November 14,

2019. (Dkt. # 1.) Defendant filed a Motion to Dismiss for Failure to State a Claim

on November 20, 2019. (Dkt. # 3.) LoanCare argues that there are no factual

allegations, much less any evidentiary support, that Plaintiffs suffered any damages

or are entitled to any relief and, therefore, Plaintiffs’ Complaint must be dismissed.

(Id. at 2.) Plaintiffs have not filed a response.

                                LEGAL STANDARD

             Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of a

complaint for “failure to state a claim upon which relief can be granted.” In

analyzing a motion to dismiss for failure to state a claim, the court “accept[s] ‘all

well pleaded facts as true, viewing them in the light most favorable to the

plaintiff.’” United States ex rel. Vavra v. Kellogg Brown & Root, Inc., 727 F.3d




                                            2
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 3 of 8




343, 346 (5th Cir. 2013) (quoting In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007)).

             To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                     DISCUSSION

             LoanCare moves to dismiss Plaintiffs’ claims on the basis that the

complaint is deficient and fails to state any claim upon which relief can be granted.

(Dkt. # 3 at 2.) LoanCare asserts that the Court should dismiss Plaintiffs'

complaint in its entirety for failure to state a claim because Plaintiffs fail to clearly

identify a single cause of action. (Id.) Further, LoanCare argues, Plaintiffs fail to

allege sufficient facts in support of their vague stated actions and Plaintiffs fail to

allege that they are not in default under the loan agreement and are entitled to relief

or have suffered damages. (Id.)

             LoanCare specifically asserts that Plaintiffs’ breach of contract claim

fails because they provide no specifics regarding their purported request for

reinstatement or request for any loss mitigation, which may include a forbearance.


                                            3
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 4 of 8




(Id. at 4.) Additionally, Defendant argues that no claim exists for attempted

wrongful sale because no foreclosure has occurred, and Plaintiffs continue to

occupy the property. (Id. at 6.) Defendant also argues that Plaintiffs’ claim for an

accounting is inappropriate since accounting is a remedy and not a cause of action

that can stand as an independent claim. (Id.) Finally, Defendant asserts that

injunctive relief precluding Defendant from foreclosing on the property should be

denied because it is dependent on a viable underlying cause of action, which

Defendant argues Plaintiffs have not asserted. (Id. at 7.)

             A.     Breach of Contract

             In Texas, a plaintiff must establish the following essential elements of

a breach of contract claim: “(1) the existence of a valid contract; (2) performance

or tendered performance by the plaintiff; (3) breach of the contract by defendant;

and (4) damages sustained by the plaintiff as a result of the breach.” Smith Int’l,

Inc. v. Egle Grp., LLC, 490 F.3d 380, 387 (5th Cir. 2007) (quotation omitted). To

sustain a breach of contract claim, a plaintiff must typically “identify the specific

provision in the contract that was breached” and cannot rely on general allegations.

Seeberger v. Bank of Am., N.A., No. EP-14-CV-366-KC, 2015 WL 9200878,

at *17 (W.D. Tex. Dec. 16, 2015) (citing Watson v. CitiMortgage, Inc., 814 F.

Supp. 2d 726, 730 (E.D. Tex. 2011)).




                                           4
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 5 of 8




             Here, while Plaintiffs’ state court application vaguely asserts that

Defendant breached the contractual obligations under the Deed of Trust by failing

to be forthcoming with reinstatement and/or forbearance procedures as the law

requires, the allegations are general and do not point to any specific provision in

the Deed of Trust that is alleged to have been breached. See Seeberger v. Bank of

Am., N.A., No. EP-14-CV-366-KC, 2015 WL 9200878, at *17 (W.D. Tex. Dec.

16, 2015) (W.D. Tex. 2015) (dismissing breach of contract claim in part because

plaintiffs generally alleged defendant was in breach of loan agreements).

             Additionally, Plaintiffs assert no damages and continue to reside in

the Property since the execution of the temporary restraining order by the Bexar

County court. (See Dkt. # 1-3.) Plaintiffs do not allege they are current on

payments or making any payments, but rather vaguely assert that Defendant is

violating their rights because it has not furnished them with a complete accounting

of their indebtedness. (Id. (See, e.g., Seeberger v. Bank of Am., N.A., No. EP-14-

CV-366-KC, 2015 WL 9200878, at *17 (W.D. Tex. Dec. 16, 2015) (W.D. Tex.

2015) (dismissing breach of contract claim because plaintiff failed to allege he was

current on payments according to contract)).) In accordance with the above failure

to assert of the necessary facts, the Court finds that Plaintiffs failed to allege a

claim for breach of contract.




                                            5
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 6 of 8




             B.     Attempted Wrongful Sale

             To make a claim for wrongful sale, a plaintiff must establish (1) a

defect in the foreclosure sale proceedings, (2) a grossly inadequate selling price,

and (3) a causal connection between the defect and the grossly inadequate selling

price. See Hurd v. BAC Home Loans Servicing, LP, 880 F. Supp. 2d 747, 766

(N.D. Tex. 2012) (citing Sauceda v. GMAC Mortgage Corp., 268 S.W.3d 135, 139

(Tex. App.—Corpus Christi 2008, no pet.)).

             Here, Plaintiff alleges that any foreclosure sale would be wrongful.

(See Dkt. # 1-3.) Specifically, Plaintiff alleges that any sale would be wrongful

because they have not been furnished with a complete accounting of their

indebtedness. (See id.) Plaintiff’s petition, however, fails to allege any facts or

evidence that show even that a foreclosure sale proceeding took place let alone any

defects in it. (See id.) Thus, the Court finds that Plaintiff has not adequately

alleged a claim for wrongful sale.

             C.     Accounting

             Under Texas law, accounting is a remedy and not an independent

claim that a plaintiff can assert. Barcenas v. Fed. Home Loan Mortg. Corp., No.

CIV.A. H-12-2466, 2013 WL 286250, at *9 (S.D. Tex. Jan. 24, 2013). It is not

available where there is no viable cause of action. Franklin v. BAC Home Loans




                                          6
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 7 of 8




Servicing, LP, No. 3:10-CV-1174-M, 2012 WL 2679496, at *12 (N.D. Tex. June

6, 2012).

             Here, to the extent Plaintiffs allege accounting as an independent

action, the claim fails. And, to the extent Plaintiffs could plead such a claim, their

application fails to allege specific facts beyond a general assertion that they have

not received a full accounting of their indebtedness. (See Dkt. # 1-2.)

Accordingly, Plaintiffs have not sufficiently alleged any independent claim for

which accounting would serve as an appropriate remedy. Thus, the Court finds

this claim should also be dismissed.

             D.     Injunctive Relief

             Finally, Plaintiffs’ claim for injunctive relief also fails. To obtain

injunctive relief, a plaintiff must demonstrate, among other things, a likelihood of

success on the merits of his claim. See Harris Cnty. v. CarMax Auto Superstores,

Inc., 177 F.3d 306, 312 (5th Cir. 1999). Because Plaintiffs have not pled any

viable cause of action, they have not demonstrated a likelihood of success on the

merits, and their claim for injunctive relief will also be dismissed. See, e.g.,

Suarez v. Ocwen Loan Servicing, LLC, No. 5:15-CV-664-DAE, 2015 WL

7076674, at *4 (W.D. Tex. Nov. 12, 2015); Rodriguez v. Bank of Am., N.A., No.

SA-12-CV-905-DAE, 2013 WL 1773670, at *13 (W.D. Tex. Apr. 25, 2013).




                                           7
        Case 5:19-cv-01334-DAE Document 10 Filed 04/02/20 Page 8 of 8




                                 CONCLUSION

            For the foregoing reasons, the Court GRANTS LoanCare’s Motion to

Dismiss. (Dkt. # 3). Because allowing Plaintiffs leave to amend their claims

would be futile, the Court will DISMISS Plaintiffs’ claims. The Clerk’s office is

instructed to ENTER JUDGMENT and CLOSE the CASE.

            IT IS SO ORDERED.

            DATED: San Antonio, Texas, April 2, 2020.




                                         ______________________________________
                                         David Alan Ezra
                                         Senior United States District Judge




                                        8
